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                EXHIBIT 52
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From:                Andrea P Roberts
To:                  UberWaymoMoFoAttorneys; BSF_EXTERNAL_UberWaymoLit; Uber-sg@LISTS.SUSMANGODFREY.COM; "John
                     Cooper"; Matthew Cate
Cc:                  QE-Waymo
Subject:             Waymo v. Uber Discovery
Date:                Wednesday, November 29, 2017 10:52:20 PM


- External Email -


Counsel:


I write regarding the Court's orders of yesterday and today regarding additional discovery.
The Court ordered Uber to provide the following by Monday at noon:

    ·       Ed Russo's presentation that he testified about on November 27, or confirmation that it
           does not exist. (11/27/17 Hearing Tr., 114:16-22) As we noted previously, Mr. Russo
           indicated that he may have shown the presentation to his boss or bosses boss so, at a
           minimum, they should be consulted as to whether they have it.

    ·      A list of all of the Uber vendors "who had anything to do with non-attributable devices
           or had anything to do with ephemeral anything." (11/27/17 Hearing Tr., 147:1-4)

    ·       "All documents in the entire company that have anything to do with ephemeral,
           anything to do with non-attributable devices, or anything to do with using contrived
           attorney-client privilege." (11/27/17 Hearing Tr., 147:10-15)

    ·      An inventory of all of the non-attributable devices and who had them from December
           1, 2015 to the present. (11/27/17 Hearing Tr., 153:21-155:8)

    ·      An inventory of the Wickr accounts and who had them from December 1, 2015 to the
           present, as well as any other self-deleting communication system. (11/27/17 Hearing
           T., 153:21-156:10)

    ·      Mr. Jacobs' personnel file, including his performance review (11/28/17 Hearing Tr.,
           156:10-11)

We expect that, to the extent Uber uses electronic searches to search for responsive
documents, those searches will include everyone in the SSG and MA groups (including their
predecessor groups), as well as other appropriate custodians. Please provide us with the list of
custodians and any search terms Uber intends to use. Uber's searches, however, should not be
limited to only search terms.

We will have additional document requests as well.

As for depositions, we will take depositions of at least the following individuals:

Richard Jacobs
Clayton Halunen
Ed Russo
Matt Henley
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Nick Gicinto
Joe Sullivan
Craig Clark
Kevin Maher
Jake Nocon
Shawnee Delaney
Salle Yoo
Travis Kalanick
Lior Ron
Joe Spiegler
David Bonderman
Ariana Huffington

By tomorrow, please let us know which of these individuals are represented by Uber's counsel
and which we should contact directly. For those not represented by Uber's counsel, please
provide any contact information you have for them, including the contact information of any
counsel Uber is aware that they have. We will meet and confer regarding the scheduling of
these depositions. We also intend to serve a 30(b)(6) notice for a deposition of Uber relevant
to the topics revealed in the Jacobs letter. We will provide that separately.

This list of discovery and depositions is not exhaustive, but given the expedited schedule we
are providing our preliminary list of discovery now.

Thanks,
Andrea


Andrea Pallios Roberts
Of Counsel,
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